      Case: 1:10-cv-00189-SA-JAD Doc #: 12 Filed: 03/07/11 1 of 1 PageID #: 30




                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              EASTERN DIVISION



BETTIE BIDDLE                                                 PLAINTIFF


VS.                                                    CASE NO. 1:10CV189-SA


NCO FINANCIAL SYSTEMS, INC.                                   DEFENDANT




                             ORDER DISMISSING ACTION
                             BY REASON OF SETTLEMENT

       The court has been advised by counsel that this action has been settled, or is in

the process of being settled. Therefore, it is not necessary that the action remain upon

the calendar of the court.

       IT IS HEREBY ORDERED that this action be dismissed without prejudice. The

court retains complete jurisdiction to vacate this order and to reopen the action upon

cause shown that settlement has not been completed and further litigation is necessary.

       This the 7TH day of March, 2011.



                                          /S/ Sharion Aycock
                                          U. S. DISTRICT COURT JUDGE
